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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                  NORFOLK DIVISION


  MARTIN J. WALSH,                  )
  SECRETARY OF LABOR,               )
  UNITED STATES DEPARTMENT OF       )
  LABOR,                            )
                   Plaintiff,       )
                                    )
        v.                          )
                                    )                  Case No. 2:18-cv-226
  MEDICAL STAFFING OF AMERICA, LLC, )
  D/B/A STEADFAST MEDICAL STAFFING, )                  Case No. 2:19-cv-475
                                    )
  &                                 )
                                    )
  LISA PITTS,                       )
                                    )
                  Defendants.       )
                                    )

          DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR BOND

         NOW COME Defendants Medical Staffing of America, d/b/a Steadfast Medical Staffing

  (“Steadfast”) and Lisa Pitts (together, “Defendants”), by counsel, and submit this opposition to

  Plaintiff’s Motion for Bond and Memorandum in Support. ECF 348, 349.

                                        INTRODUCTION

         The United States Department of Labor (“DOL” or “Plaintiff”) asks that the Court direct

  Defendants to post a supersedeas bond, pursuant to Federal Rule of Civil Procedure 62, to protect

  its interests during the pendency of Defendants’ appeal. Plaintiff contends that such a bond is

  necessary because Defendants have “failed to propose a plan” to protect their interests and have

  not demonstrated they will stay solvent. ECF No. 349 at 1. Boldly claiming that denying bond in

  this case may decrease the effectiveness of DOL’s enforcement of the Fair Labor Standards Act

  (“FLSA”), id. at 4, Plaintiff requests the Court direct Defendants to post a bond in the amount of

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  $9,075,285.66 – the amount DOL alleges Defendants owe in back pay and liquidated damages.

  Id. at 2, 3, 7. In so doing, Plaintiff (a) misapprehends how Fed. R. Civ. P. 62 functions, (b) ignores

  that the computation of back pay and liquidated damages is a live issue currently before the Court,

  and (c) baselessly alleges that Defendants are unwilling to comply with the FLSA moving forward.

  The Court should reject Plaintiff’s motion.

                                 PROCEDURAL BACKGROUND

         The Court issued a memorandum opinion on January 14, 2022, setting forth findings of

  fact and conclusions of law, and concluding that Steadfast had misclassified certain of its team

  members in violation of the FLSA. ECF 324. The Court’s opinion ordered the parties to cooperate

  in exchanging additional information, so that DOL could present an updated, final computation of

  the backpay allegedly owed. Id. at 31. On the same day, the Court entered Judgment for Plaintiff

  and enjoined Defendants “from committing further violations of the FLSA.” ECF 325. The

  Judgment did not include an award of monetary damages.

         In the weeks that followed, Defendants called Plaintiff’s attention to multiple apparent data

  entry errors in the backpay calculation presented at trial and sought to collaborate in identifying

  and correcting these errors to reach an accurate backpay figure. See generally ECF 331; ECF 337.

  Plaintiff declined Defendants’ repeated attempts to work together to reach an agreed-upon backpay

  calculation – and instead unilaterally sought on March 11 to have the Court enter a backpay

  damages figure that ignored Defendants’ concerns. ECF 329; 329-1. In addition to asking the

  Court to ratify the backpay computation entered into evidence at trial – despite the myriad apparent

  data entry errors Defendants had identified – Plaintiff also sought the Court’s approval of its

  computation of additional backpay alleged owed for the period between June 2021 and January

  2022. ECF 329-1. Defendants responded promptly on March 13 by bringing these issues to the



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  Court’s attention and requesting for additional time for the parties to review Plaintiff’s backpay

  computation materials, identify any errors, and work together to correct them, if necessary. ECF

  331. The next day, Defendants filed a prophylactic notice of appeal of the Court’s judgment

  finding them in violation of the FLSA. ECF 332 (acknowledging that the Court “has not yet

  entered a final judgment with a dollar amount.”).

         On April 8, the Court issued an order deferring action on Defendants’ request that the

  parties collaborate in reviewing and correcting the backpay calculation until the Fourth Circuit

  responded to Defendants’ notice of appeal, citing the interest of judicial economy. ECF 340.

  Proceedings in the Fourth Circuit are moving apace and, per a revised briefing schedule negotiated

  and agreed to by Plaintiff’s appellate counsel, Defendants’ opening brief is to be filed by August

  17, 2022. See Martin J. Walsh v. Medical Staffing of America, LLC, No. 22-1290, ECF 15.

                                           ARGUMENT

         Nearly five months after Defendants noted their appeal of the Court’s January 14 order

  finding them in violation of the FLSA, Plaintiff has moved the Court to direct Defendants to post

  an appeal bond. The timing of Plaintiff’s motion is curious, and they offer no explanation about

  why this motion is appropriate now – in the middle of the appellate briefing schedule, and with the

  deadline for a response less than one week before Defendants’ opening brief is due to be filed.

         DOL frames its motion as being based on a belief that “Defendants have failed to propose

  a plan that adequately protects Plaintiff’s, and in turn Defendants’ employees,’ interest in the

  judgment absent a bond pending appeal.” ECF 349 at 1. DOL proposes no basis in law or equity

  to suggest that Defendants or the Court have any obligation to pursue further action here while

  appeal is pending in this matter.     Instead, Plaintiff cites to the public’s interest in FLSA

  enforcement generally to support its claim. See id. at 4 (“This action was brought by the Secretary



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  of Labor acting in the public’s interest to enforce the FLSA.”). Contrary to DOL’s claims,

  Defendants have consistently demonstrated for months that they have the capacity to and will

  continue to comply with the Court’s judgment – and, therefore, the FLSA – while also pursuing

  an appeal.

         This Court has exercised its “inherent power” to “manage [its] own affairs so as to achieve

  the orderly and expeditious disposition of cases,” ECF 347 at 3 (quoting Link v. Wabash R.R., 370

  U.S. 626, 630–31(1962)), by choosing to defer action on Defendants’ pending motion concerning

  the backpay calculation. As such, there is no monetary damages judgment yet entered in this case.

  ECF 324 at 30-31; ECF 325.

         Because Rule 62(b) is inapplicable to the procedural posture of this case, the Court should

  deny DOL’s motion for bond. And even if Rule 62(b) could apply in this setting, the factors to be

  considered under Rule 62(b) weigh against imposition of a supersedeas bond.

         I.      Applicable Legal Standard.

         Federal Rule of Civil Procedure 62(b) provides: “At any time after judgment is entered, a

  party may obtain a stay by providing a bond or other security. The stay takes effect when the court

  approves the bond or other security and remains in effect for the time specified in the bond or other

  security.” The Rule serves an “underlying purpose of securing a judgment debtor’s obligation

  before a stay is issued.” JTH Tax, LLC v. Shahabuddin, No. 2:20CV217, 2021 WL 8445889, at

  *3 (E.D. Va. Oct. 8, 2021). Supersedeas bonds are, thus, tied to the amount of the monetary

  judgment, if any, entered against a party. See Schmidt v. FCI Enterprises LLC, 3 F.4th 95, 99 (4th

  Cir. 2021) (“[W]hereas a Rule 7 appeal bond is restricted to costs on appeal, a supersedeas bond

  usually covers the full amount of the money judgment.”). Although the court has the discretion to

  order a stay secured by less than a full supersedeas bond, the supersedeas bond contemplated in



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  Rule 62(d) is a full security bond, one that secures the entire amount of the judgment. Alexander

  v. Chesapeake, Potomac & Tidewater Books, Inc., 190 F.R.D. 190, 192 n.5 (E.D. Va. 1999);

  accord 11 Charles Allen Wright & Arthur R. Miller, Federal Practice & Procedure, § 2905 (3d.

  ed. 2022).

         Moreover, the Rule does not require a bond in order for the Court to stay proceedings.

  “[A]s the commentary discussing the 2018 amendment to Rule 62 makes clear, a party need not

  necessarily post a supersedeas bond for the court to stay enforcement of a judgment pursuant to

  Rule 62(b).” JTH Tax, LLC, 2021 WL 8445889, at *3 (citing Fed. R. Civ. P. 62 advisory

  committee’s note to 2018 amendments). Further Rule 62(b) “does not preclude, issuance of a stay

  on the basis of some lesser bond, or indeed, no bond. It follows, logically, that this Rule leaves

  unimpaired a district court’s inherent, discretionary power to stay judgments pending appeal on

  terms other than a full supersedeas bond.” Alexander, 190 F.R.D. at 192. Accordingly, “a district

  court’s inherent discretionary power to stay judgments pending appeal on the basis of less than a

  full supersedeas bond, or no bond, is not addressed or affected by Rule 62(d),1 which establishes

  only the narrow proposition that a full supersedeas bond entitles an appellant to the issuance of a

  stay pending disposition of the appeal.” Id.

         II.     Defendants Have Not Sought a Stay of the Court’s Judgment and the Court Has
                 Not Yet Awarded Damages.

         Because Defendants have not sought to stay enforcement of the Court’s judgment,2 Rule

  62(b) does not apply in this case. Further, because there has not been a monetary judgment entered



  1
   Rule 62(b) encompasses in modified form the supersedeas bond provisions of former Rule
  62(d). Fed. R. Civ. P. 62, Advisory Committee Notes (2018 Amendments).
  2
    On this point, Plaintiff and Defendants agree. See ECF 351 at 3 (conceding in connection with
  their Motion for Entry of an Updated Order, that “Defendants did not ask the Court to stay
  enforcement of the judgment[.]”).
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  in this case, Rule 62(b) does not apply. Plaintiff instead attempts to twist the Rule 62(b) framework

  – requesting the Court order Defendants to post a bond reflecting Plaintiff’s view of what monetary

  damages may be in this case. The Rule does not provide Plaintiff the relief it seeks.

          The Court’s judgment was narrow in scope: it enjoined Defendants from violating the

  FLSA. ECF 325. Defendants have not, and do not now, seek to stay the Court’s judgment, which

  enjoined Defendants from further violation of the FLSA. To the contrary, Defendants took

  immediate action in response to the Court’s January 14 Opinion, working quickly to revise their

  payroll apparatus and overtime pay practices. By February 8, Steadfast had fully-instituted a new

  payroll system under which all Steadfast team members are paid the appropriate statutory overtime

  rate of 1.5x their regular rate for any hours worked over 40 within a single pay period. Defendants

  promptly informed DOL of the changes they had implemented in light of the Court’s order. See

  ECF 350-1. Far from seeking a stay of the Court’s judgment, Defendants are in compliance with

  its directives.

          The Court did not make a determination on damages owed Plaintiff, and deferred action

  on Defendants’ request to address concerns about what appear to be thousands of data entry errors,

  equating to millions of dollars of potential exposure for Defendants, in Plaintiff’s backpay

  computation tables. Without a specific damages judgment, there is no foundation for a supersedeas

  bond. Alexander, 190 F.R.D. at 192, n.5 (“[A] supersedeas bond is arguably any bond that, by

  order of a district court, stays enforcement of a money judgment, even if the bond secures only a

  portion of the money judgment.”) (emphasis added). Rule 62(b) only applies “any time after

  judgment is entered,” and the fact that the Court has not issued a final judgment as to back pay and

  liquidated damages is alone grounds to demonstrate that action under Rule 62(b) is inapplicable

  here. Cf. Calderon v. GEICO Gen. Ins. Co., 754 F.3d 201, 204-07 (4th Cir. 2014) (liability



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  judgment order not final for purposes of rules governing appeal process where judgment does not

  fix specific damages figure and potential disputes concerning final computation remain on District

  Court docket).

         Defendants’ March 13 motion specifically invokes the Court’s discretionary authority

  under Rule 52, Rule 54, and Rule 60. ECF 331. But the Court has not yet ruled on this motion,

  instead deferring action in light of the pending Fourth Circuit proceedings. Contrary to Plaintiff’s

  recent assertion, any order by this Court setting a bond, or otherwise addressing the merits of the

  parties’ competing backpay computation-related motions, would not be “in aid of appeal.” See

  ECF 351 at 5 (arguing that the Court should update the back wages and damages figure contained

  in its January 14 Order as it “will unquestionable aid in the appeal.”). Instead, it would simply

  inject confusion and uncertainty into the existing appellate proceedings, and might well be void

  on jurisdictional grounds. See In re GNC Corp., 789 F.3d 505, 512 n.5 (4th Cir. 2015) (quoting

  Griggs v. Provident Consumer Disc. Co., 459 U.S. 56, 58, 103 S. Ct. 400, 74 L.Ed.2d 225 (1982)

  (per curiam)) (“The timely filing of a notice of appeal is not merely a matter of clerical

  convenience. Rather, it is ‘an event of jurisdictional significance-it confers jurisdiction on the court

  of appeals and divests the district court of its control over those aspects of the case involved in the

  appeal.’”).

         III.      A Bond is Unwarranted in this Case.

         Perhaps recognizing that Rule 62 does not provide them the relief they seek, Plaintiff leans

  heavily on the abstract proposition that the Rule is meant to protect an appellee from risk. DOL

  states that “[t]he purpose of Fed. R. Civ. Proc. 62 is to protect an appellee from undertaking the

  risk that the appellant’s financial situation will deteriorate while the appeal is pending.” ECF 349

  at 4 (citing N. River Ins. Co. v. Greater New York Mut. Ins. Co., 895 F. Supp. 83, 84 (E.D. Pa.



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  1995)). This is an accurate, yet incomplete, characterization of Rule 62 – and does not address the

  threshold issue of whether the appellant has, in fact, sought a stay of the Court’s judgment. See

  North River, 895 F. Supp. at 84 (addressing the appropriate amount of a bond once it has been

  determined that bond should be posted and noting: “In deciding whether the bond here is sufficient,

  we must look to its purpose.”).

                 A.      The Court May Stay Proceedings Without a Rule 62(b) Bond.

         Even in cases where a party seeks a stay of a monetary damages judgment against it, a

  district court has inherent, discretionary power to stay judgments pending appeal on terms other

  than a supersedeas bond – including without requiring any bond. Moses Enterprises, LLC v.

  Lexington Ins. Co., No. CV 3:19-0477, 2022 WL 1132165, at *1 (S.D.W. Va. Apr. 15, 2022)

  (quoting Nken v. Holder, 556 U.S. 418, 421 (2009)) (internal citations omitted) (“[I]t has always

  been held that as part of its traditional equipment for the administration of justice, a federal court

  can stay the enforcement of a judgment pending the outcome of an appeal.”).

         In exercising that power, district courts in the Fourth Circuit, including in this district, have

  adopted the Fifth Circuit’s understanding that “[a] full bond may not be necessary in either of two

  polar circumstances: (i) when the judgment debtor can currently easily meet the judgment and

  demonstrates that it will maintain the same level of solvency during appeal, and (ii) when the

  judgment debtor’s present financial condition is such that the posting of a full bond would impose

  an undue financial burden.” Id. at *1 (quoting Alexander, 190 F.R.D. at 193) (internal quotations

  omitted). Fundamental to this assessment, however, is that there has been a final monetary

  damages judgment in a specific amount – which is not the case here.3




  3
    Although there has not been an award of monetary damages, such that a supersedeas bond is
  unwarranted, Plaintiff claims, without support, that Defendants may “dispose of property and
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                 B.     Bond Proceedings Are Unnecessary and Wasteful Here.

         Plaintiff insinuates that Defendants’ ability to cover back wages will at some point, and at

  some point very soon, become extinct. ECF 349 at 6 (“Defendants [sic] lack of commitment to

  complying with the Act compromises their solvency. . . . This willful disregard of the Act

  compromises Defendants’ ability to meet its long-term debts and other financial obligations

  because their debt to income and asset balances continues to increase. As such, Defendants cannot

  demonstrate that they have maintained the same level of solvency during appeal.”). This statement

  is confusing, inaccurate, and counterintuitive – as it is unclear how Defendants’ alleged “lack of

  commitment” to complying with the FLSA (which usually involves increased expense) somehow

  “compromises their solvency.” More importantly, this assertion ignores that Defendants are in

  compliance with the Court’s judgment directing them to comply with the FLSA – and ignores

  Plaintiff’s own statement indicating that Defendants have an ability to pay damages that may, in

  the future, be directed by this Court. See Moses Enterprises, 2022 WL 1132165, at *1–2 (waiving

  bond under Rule 62(b) where evidence suggested defendants had ability to pay).

                 C.     A Bond Is Not Necessary to Support Plaintiff’s Enforcement Efforts.

         Contrary to Plaintiff’s assertions, the effectiveness of DOL’s FLSA enforcement is not

  implicated, nor has DOL’s congressional mandate in any way been frustrated, by the Court’s

  reasoned decision to defer a determination of the Defendants’ motion for relief in connection with

  DOL’s backpay computation, while the matter proceeds on appeal. ECF 349 at 4–5. Plaintiff

  argues that, absent a bond in this case, the public’s general interest in FLSA enforcement is

  harmed. Id. In support, Plaintiff cites to a number of cases which do not analyze Rule 62 and are




  dissipate or hide assets before a final ruling on appeal is issued.” ECF 349 at 6. This insinuation
  is offensive and unsupported.
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   not otherwise applicable here. Id. at 5 (citing Chao v. Virginia Dept. of Transp., 157 F. Supp. 2d

   681, 693 (E.D. Va. 2001), rev’d on other grounds, 291 F.3d. 276 (4th Cir. 2002) (discussing the

   existence of a public interest in DOL enforcing the FSLA through restitutionary injunction);

   Donovan v. Brown Equip. and Serv. Tools, Inc., 666 F.2d 148, 157–58 (5th Cir. 1982) (discussing

   how restitutionary injunction under the FLSA supports the public interest); Reich v. Monfort, Inc.,

   144 F.3d 1329, 1335 (10th Cir. 1998) (discussing the purposes of restitutionary injunction under

   the FLSA)). Notably, Plaintiff’s discussion of the problems with “denying bond” – which, to be

   clear, this Court has not done – fails to cite any authority supporting their position that the purpose

   of FLSA, or DOL’s enforcement efforts, is frustrated by a district court’s reasoned decision to

   defer issuing a monetary damages judgment pending the outcome of an appeal.

                                             CONCLUSION

          Based upon the foregoing, Defendants respectfully request that Plaintiff’s Motion for Bond

   be denied.

   Dated: August 11, 2022                         Respectfully submitted,

                                                  MEDICAL STAFFING OF AMERICA, LLC,
                                                  LISA ANN PITTS

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                                                Counsel for Defendants



                                   CERTIFICATE OF SERVICE

        I hereby certify that on August 11, 2022, I filed the foregoing document with the Clerk of

   the Court using the CM/ECF system, which will send a notification of such filing to all counsel of

   record.

   Dated: August 11, 2022                       Respectfully submitted,

                                                MEDICAL STAFFING OF AMERICA, LLC

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